Case 8:12-cv-01837-EAK-MAP Document 856 Filed 11/21/17 Page 1 of 5 PagelD 15910

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
REGIONS BANK, an Alabama
banking corporation,

Plaintiff,
V. CASE NO. 8:12-CV-1837-T-17MAP

MARVIN I. KAPLAN, an individual,
et al.,
Defendants.

ORDER
This cause is before the Court on:

Dkt. 816 Motion to Redact Trial Transcript (Kaplan Parties)

Dkt. 819 Memorandum of Law in Opposition (Regions Bank)

Defendants Marvin |. Kaplan, R1A Palms, LLC, Triple Net Exchange, LLC, MK
Investing, LLC and BNK Smith, LLC) (“Kaplan Parties”) move to redact the trial
transcript. Kaplan Parties have attached the proposed redactions as Exhibit A to the
Motion (18 pages). Kaplan Parties argue that the proposed redactions are necessary to
protect sensitive information regarding: 1) Mr. and Mrs. Kaplan’s personal financial

information, and 2) non-party financial and personal information.

Kaplan Parties assert that the information for which Kaplan Parties request
redaction is generally not directly germane to the claims and issues in this case, and
the public interest will not be served by disclosing miscellaneous financial and personal
information of Mr. and Mrs. Kaplan and unrelated third parties, whose interest in

maintaining privacy outweighs the public’s interest in disclosure.
Case 8:12-cv-01837-EAK-MAP Document 856 Filed 11/21/17 Page 2 of 5 PagelD 15911

Case No 8:12-CV-1837-T-17MAP

Kaplan Parties further argue that the requested redaction of the trial transcript
will not prejudice the other parties, in light of the fact that this Court has already
entertained and granted the parties’ requests to seal trial exhibits containing sensitive

information.

Plaintiff Regions Bank opposes Kaplan Parties’ Motion to Redact Trial
Transcript, arguing that the Motion to Redact does not comply with Local Rule 1.09,
does not describe the information in any detail, and does not provide the rigorous

justification necessary for sealing.
|. Standard of Review

Absent exceptional circumstances, trials are public proceedings. The district
court has discretion to determine which portions of the record should be placed under
seal, but the district court’s discretion is guided by the presumption of public access to
judicial documents. “Once a matter is brought before a.court for resolution, it is no
longer solely the parties’ case, but also the public’s case.” Brown v. Advantage
Engineering, Inc., 960 F.2d 1013 (11" Cir. 1992). While the parties to a lawsuit “have
protectable privacy interests in confidential information disclosed through discovery,
once the information becomes a judicial record or a public document, the public has a
common-law right to inspect and copy the information. In re Alexander Grant & Co.
Litigation, 820 F.2d 352, 355 (11 Cir. 1987).

 

The public’s right of access may be overcome by a showing of “good cause”
sufficient for the granting of a protective order pursuant to Fed. R. Civ. P. 26(c). “Good
cause is established by the moving party when disclosure will cause the party to suffer
a Clearly defined and serious injury.“ See NXP _B.V. v. Blackberry Ltd., 2014 WL

2
Case 8:12-cv-01837-EAK-MAP Document 856 Filed 11/21/17 Page 3 of 5 PagelD 15912

Case No 8:12-CV-1837-T-17MAP
40591935, at *2 (M.D. Fla. Aug. 15, 2014).

The Court has a duty to balance the public’s right of access against the party’s
interest in confidentiality. “In balancing the public interest in accessing court documents
against a party's interest in keeping the information confidential, courts consider,
among other facts, whether allowing access would impair court functions or harm
legitimate privacy interests, the degree and likelihood of injury if made public, the
reliability of the information, whether there will be an opportunity to respond to the
information, whether the information concerns public officials or public concerns, and
the availability of a less onerous alternative to sealing the documents.” Romero v.
Drummond Company, Inc., 480 F.3d 1234, 1246 (11 Cir. 2007). The decision as to
access is left to the sound discretion of the trial court, to be exercised in light of the
relevant facts and circumstances of the particular case. Belo Broad. Corp. v. Clark, 654
F.2d 423, 430 (5™ Cir. 1981).

 

ll. Analysis

Defendants Kaplan Parties requests that the Court approve the proposed
redactions in the table attached to Defendants’ Motion. The Court understands that
Defendant Kaplan Parties are asserting Defendant Kaplan’s generalized privacy right to
keep personal financial information private. The table provides only page and line
references, without any description of the information or explanation of why redaction is

necessary for each item.

In light of the conclusory manner in which Defendants Kaplan Parties have
requested relief, the Court doubts the standing of Defendants Kaplan Parties to assert

the privacy interests of non-party witnesses.
Case 8:12-cv-01837-EAK-MAP Document 856 Filed 11/21/17 Page 4 of 5 PagelID 15913

Case No 8:12-CV-1837-T-17MAP

The Court has reviewed the Judicial Conference Privacy Policy and applicable
Court rules as to redaction. That policy requires personal identifiers to be redacted,
including Social Security numbers, names of minor children, financial account numbers,
dates of birth, and, in criminal cases, home addresses. The Court’s CM/ECF

Administrative Procedures provides the rules for redaction in CM/ECF filings.

The Court notes that Defendants Kaplan Parties do not request redaction of
Social Security numbers, names of minor children, financial account numbers, dates of
birth, or home addresses. Defendants Kaplan Parties are seeking to seal portions of

the trial transcript which may refer to personal financial information.

Defendant Kaplan Parties’ Motion to Redact Trial Transcript , interpreted as a
Motion to Seal portions of the trial transcript, does not comply with L.R. 1.09. The
Court cannot balance the interests of the respective parties in a vacuum. After
consideration, the Court concludes that Defendants Kaplan Parties have not
established good cause to seal portions of the trial transcript necessary to overcome
the common law right of access. The Court therefore denies the Motion to Redact Trial

Transcript. Accordingly, it is

ORDERED that Defendants Kaplan Parties’ Motion to Redact Trial Transcript
(Dkt. 816) is denied.
Case 8:12-cv-01837-EAK-MAP Document 856 Filed 11/21/17 Page 5 of 5 PagelD 15914

Case No. 8:12-CV-1837-T-17MAP

DONE and ORDERED in Chambers in Tampa, Florida on on tis AAR oF
November, 2017.

Cc .
. ——— SE oe LE F Je
” a eA eB rmilaet
ee ZABETH A, KOVACHE

United States Distri¢ e oN

Copies to:
All parties and counsel of record
